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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 RICHARD E. FISCHBEIN, M.D.,                    :            CIVIL ACTION
 individually and on behalf of all              :
 others similarly situated,                     :            NO. 19-5365
               Plaintiff                        :
                                                :
                v.                              :
                                                :
 IQVIA, INC.                                    :
                Defendant                       :

                                           ORDER
       AND NOW, this 5th day of June 2025, upon consideration of Plaintiff’s motion for class

certification, (ECF 87, 89), Defendant’s response in opposition, (ECF 92, 95), Plaintiff’s reply,

(ECF 102, 108), Defendant’s notice of supplemental authority, (ECF 113), Plaintiff’s response to

Defendant’s notice of supplemental authority, (ECF 114), and Defendant’s second notice of

supplemental authority, (ECF 117), it is hereby ORDERED that, for the reasons set forth in the

accompanying Memorandum Opinion, Plaintiff’s motion for class certification is DENIED.



                                            BY THE COURT:


                                            /s/ Nitza I. Quiñones Alejandro
                                            NITZA I. QUIÑONES ALEJANDRO
                                            Judge, United States District Court
